
PER CURIAM.
Affirmed. See Adaway v. State, 902 So. 2d 746 (Fla. 2005) ; Milks v.State, 894 So. 2d 924 (Fla. 2005) ; Bizzell v. State, 912 So. 2d 386 (Fla. 2d DCA 2005) ; Sheppard v. State, 907 So. 2d 1259 (Fla. 2d DCA 2005) ; Shaw v. State, 780 So. 2d 188 (Fla. 2d DCA 2001) ; Gibson v. State, 721 So. 2d 363 (Fla. 2d DCA 1998) ; Banaszak v. State, 579 So. 2d 867 (Fla. 2d DCA 1991) ; Johnson v. State, 917 So. 2d 1011 (Fla. 4th DCA 2006) ; Hannah v. State, 869 So. 2d 692 (Fla. 5th DCA 2004) ; Martell v. State, 676 So. 2d 1030 (Fla. 3d DCA 1996).
CASANUEVA, LUCAS, and ROTHSTEIN-YOUAKIM, JJ., Concur.
